                SECOND CONFIDENTIALITY AGREEMENT

      This Second Confidentiality Agreement is entered into on the last date

signed below by and between Defendant Joseph Delia and Plaintiff Maria M.

Givens, as Personal Representative of the Estate of Raymond C. Givens (indi-

vidually, each a “Party”; and collectively, the “Parties”), by their respective un-

dersigned attorneys.

                                    Recitals

      WHEREAS, on May 26, 2023, attorney Raymond C. Givens sued his for-

mer client, the Defendant, for payment of attorney’s fees in the United States

District Court for the District of Alaska, Case No. 3:23-cv-00121-HRH (“Liti-

gation”); and

      WHEREAS, on July 11, 2023, Raymond C. Givens and the Defendant

entered into a Confidentiality Agreement in the Litigation, Docket No. 12-1,

which was subsequently approved by the Court, Docket No. 13; and

      WHEREAS, on March 4, 2025, counsel for Raymond C. Givens filed a

Notice of Death of Plaintiff, Docket No. 86, noting on the record the death of

Raymond C. Givens; and

      WHEREAS, on April 8, 2025, the Court ordered that Maria M. Givens,

as personal representative of the Estate of Raymond C. Givens, be substituted



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                                                                            Exhibit A

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as the Plaintiff in the Litigation, and the Court asked the parties to jointly

propose to the Court a revised confidentiality agreement on or before April 30,

2025, Docket No. 91; and

      WHEREAS, in the Litigation, the Parties may request production of, or

otherwise be entitled to, copies of certain documents containing confidential

information in the other’s possession, including, but not limited to, the follow-

ing: the Defendant’s attorney-client privileged documents and confidential in-

formation that were received by Raymond C. Givens during his representation

of the Defendant and the Oenga heirs; proprietary oil company documents;

leases; amended leases; confidential settlement agreements; financial and per-

sonal information about other persons, including, without limitation, the other

Oenga heirs and former clients of Plaintiff; all documents regarding the fee

arbitration in Leroy Oenga, Jr. v. Givens, Alaska Bar Association File No.

2021F012; and confidential court orders from other cases (collectively, “Confi-

dential Documents”); and

      WHEREAS, subject to the foregoing, each Party is willing to provide cop-

ies of Confidential Documents to the other Party and its attorneys, provided

that they agree to take reasonable steps to protect the confidentiality of the

Confidential Documents, as provided herein.



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                                  Agreement

      NOW, THEREFORE, in consideration of the mutual covenants stated

herein, the Parties agree as follows:

      1.     Upon execution of the “Agreement of the Personal Representative

of the Estate of Raymond C. Givens to be Bound by this Second Confidentiality

Agreement” in the form provided as Exhibit A, the Plaintiff may receive Con-

fidential Information as is reasonably necessary for purposes of this Litigation

and as consistent with this Second Confidentiality Agreement. If the Plaintiff

ceases to be the Personal Representative of the Estate of Raymond C. Givens,

the Plaintiff will promptly notify the Defendant and the Court, and the Plain-

tiff’s rights to receive, review, or retain Confidential Information will immedi-

ately terminate.

      2.     Each Party will produce unredacted copies of Confidential Docu-

ments to the other Party and its attorneys, as may be requested by them and

as appropriate in the Litigation, subject to the conditions stated herein. Confi-

dential Documents will be marked clearly with the following language:

                          Confidential Document
                        Case No. 3:23-cv-00121-HRH
           Not to be copied or disclosed except as provided in the
                     Second Confidentiality Agreement




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      3.    Neither Party nor its attorneys will use Confidential Documents

for any purpose other than in this Litigation.

      4.    Each Party and its attorneys will keep confidential the Confiden-

tial Documents received during this Litigation.

      5.    Other than in court proceedings as approved by the Court, copies

of Confidential Documents may be shown only to the following: each Party’s

attorneys’ employees, consultants, investigators, or experts; outside scanning,

photocopying, microfilming, or database service providers; trial support firms;

graphic production services; litigation support services; the Court in the Liti-

gation; court reporters and their staff; stenographers or video operators during

depositions and deposition preparation; witnesses or potential witnesses in the

Litigation to whom disclosure of the Confidential Documents is reasonably nec-

essary; any mediator or arbitrator engaged by the Parties in connection with

the Litigation; and the author or recipient of the Confidential Documents or a

custodian or other person who otherwise possessed or knew the information.

      6.    Before copies of Confidential Documents are shown to any person

identified above, each disclosing Party or his attorneys will inform that person

in writing of the confidentiality of the Confidential Documents, as required by

this Second Confidentiality Agreement, and secure, in writing, that person’s



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agreement to be bound by this Second Confidentiality Agreement in the form

attached as Exhibit B.

      7.    At the conclusion of the Litigation or in the event that the Plaintiff

is no longer the Personal Representative of the Estate of Raymond C. Givens,

the Plaintiff and the Plaintiff’s attorneys will promptly return to the Defendant

or destroy all copies of Confidential Documents. The restrictions on disclosure

and use of Confidential Documents survive the conclusion of this Litigation,

except with respect to documents that the Defendant was entitled to receive

independent of this Litigation. This Confidentiality Agreement does not limit

any Party’s rights with respect to documents obtained through means or

sources outside of this Litigation.

      8.    The Parties agree that, as may be ordered by the Court in the Lit-

igation, Confidential Documents may be filed under seal according to the ap-

plicable court rules. The Parties further agree to abide by the terms and con-

ditions stated in the Stipulation and Agreement Regarding Documents Filed

Under Seal, Document No. 81.

      8.    This Second Confidentiality Agreement supersedes the Confiden-

tiality Agreement entered into on July 11, 2023, Docket No. 12-1, except that

any person who was shown Confidential Information under Paragraph 4 of



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that Confidentiality Agreement will remain bound by the Confidentiality

Agreement, and by the terms of this Second Confidentiality Agreement, and

each Party’s attorney will promptly advise each affected person of this Second

Confidentiality Agreement upon its approval by the Court in the Litigation.

      9.   This Second Confidentiality Agreement will be filed with the Court

in the Litigation, and the Parties will ask for a Court order confirming its

terms.




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                                                                       Exhibit A

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DATED: April 28, 2025       LANDYE BENNETT BLUMSTEIN LLP

                            /s/ Andrew Erickson
                            ______________________________________
                            Andrew Erickson, Alaska Bar No. 1605049
                            Matt Mead, Alaska Bar No. 0711095

                            Attorneys for Defendant Joseph Delia



DATED: April 28, 2025       WINNER & ASSOCIATES, P.C.

                            /s/ Russell L. Winner
                            ______________________________________
                            Russell L. Winner, Alaska Bar No. 7811149

                            Attorney for Plaintiff Maria M. Givens, as Per-
                            sonal Representative of the Estate of Raymond C.
                            Givens




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                         Exhibit A
                                 EXHIBIT B

        Agreement to Be Bound by Second Confidentiality Agreement



      I, ______________________________________, have been advised by coun-

sel of record for ____________________________ in Givens v. Delia, No. 3:23-cv-

00121-HRH of the Second Confidentiality Agreement governing the production

and disclosure of confidential documents and information produced in this lit-

igation. I have read a copy of the Second Confidentiality Agreement and agree

to abide by its terms.




                         ________________________________
                         Signature



                         ____________________________
                         Date




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                                                                         Exhibit A

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